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December 22, 2020

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Louis DeJoy
Postmaster General

US Postal Service

475 L'Enfant Plaza, SW
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Re: Levine v. DeJoy, Case No. 1:20-cv-1208
Dear Mr, DeJoy:

Pursuant to the Federal Rules of Civil Procedure 4a)( 1)(C), I am hereby serving you with a copy
of the Summons and Complaint on behalf of Plaintiff Patricia Levine.

Sincerely,

WHEELER UPHAM, P.C.

WEY, LA.

Glenn L. Smith

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